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      BRUCE SCOTT - CONFIDENTIAL; May 20, 2019                               1



· ·   · · · · · ·IN THE UNITED STATES DISTRICT COURT
·2·   · · · · · FOR THE WESTERN DISTRICT OF WASHINGTON
· ·   · · · · · · · · · · · · AT SEATTLE
·3·   ·________________________________________________________

·4·   · · · · · · · · · · · · · · · · )
· ·   ·THE STATE OF WASHINGTON,· · · ·)
·5·   · · · · · · · · · · · · · · · · )
· ·   · · · · · · · · Plaintiff,· · · )
·6·   · · · · · · · · · · · · · · · · )
· ·   · · · · · ·vs.· · · · · · · · · )· ·No. 3:17-cv-05806-RJB
·7·   · · · · · · · · · · · · · · · · )
· ·   ·THE GEO GROUP, INC.,· · · · · ·)· ·SOME OF THE EXHIBITS AND
·8·   · · · · · · · · · · · · · · · · )· ·THE TESTIMONY REGARDING
· ·   · · · · · · · · Defendant.· · · )· ·THEM HAVE BEEN DESIGNATED
·9·   · · · · · · · · · · · · · · · · )· ·AS CONFIDENTIAL.
· ·   ·_________________________________________________________
10

11· · · · · · · DEPOSITION UPON ORAL EXAMINATION

12· · · · · · · · · · · · · · ·OF

13· · · · · · · · · · · · ·BRUCE SCOTT
· · ·_________________________________________________________
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15·   · · · · · · · · · · · · 10:02 a.m.
· ·   · · · · · · · · · · · ·May 20, 2019
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· ·   · · · · · · · · · 800 Fifth Avenue 2000
17·   · · · · · · · · Seattle, Washington 98164

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24· ·REPORTED BY: JACQUELINE L. BELLOWS, CCR 2297

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·1· · · · · · · Seattle, Washington; May 20, 2019

·2· · · · · · · · · · · · · 10:02 a.m.

·3· · · · · · · · · · · · · ·--oOo--

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·5· · · · · · · · · · · · ·BRUCE SCOTT,

·6· · ·sworn as a witness by the certified court reporter,

·7· · · · · · · · · · testified as follows:

·8

·9· · · · · · · · · · E X A M I N A T I O N

10· ·BY MS. CHIEN:

11· · · · Q.· ·Great.· So my name is Marsha Chien.           I

12· ·represent the -- sorry.· I represent the State of

13· ·Washington.· I just took a different deposition where I

14· ·represented a different agency.

15· · · · · · ·So I know we just introduced each other.· But

16· ·can you state your name for the record.

17· · · · A.· ·My name is Bruce A Scott, Jr.

18· · · · Q.· ·Have you been previously deposed?

19· · · · A.· ·Yes.

20· · · · Q.· ·About how many times?

21· · · · A.· ·Two times prior.

22· · · · Q.· ·Was it in the last five years?

23· · · · A.· ·One was in the last five years.

24· · · · Q.· ·So you may know some of these rules I'm about

25· ·to state.· But I'm just going to go over them so we have




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·1· · · · A.· ·I don't think that's a specialized detail.             I

·2· ·think commissary, which is run by -- I don't know what

·3· ·commissary does.· They have a separate company.

·4· · · · Q.· ·Are there -- do detainee workers work

·5· ·commissary?

·6· · · · A.· ·I don't know.

·7· · · · Q.· ·I want to show you the document that I'm

·8· ·trying to figure out.

·9· · · · · · ·(Deposition Exhibit No. 170 marked for

10· · · · · · ·identification.)

11· · · · Q· · (By Ms. Chien) Do you see this is an email

12· ·from Mike Snyder to you?· This is Exhibit 170.

13· · · · A.· ·Yes.

14· · · · Q.· ·The subject, it says:· "Detainee work

15· ·details."

16· · · · A.· ·Yes.

17· · · · Q.· ·Who's Mike Snyder?

18· · · · A.· ·Mike Snyder's a lieutenant.

19· · · · Q.· ·Do you recall this email?

20· · · · A.· ·I don't specifically recall this email.

21· · · · Q.· ·Do you see -- does -- it appears that he's

22· ·listing
     listing detainee work details.· Then, he says, at the

     last line:· "Commissary detainees on delivery day."
23· ·last

24· · · · A.· ·I see that.

25· · · · Q.· ·Do you know what he's referring to?




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·1· · · · A.· ·I do not.· I don't recall.· The commissary is

     run by a separate company that's not -- that's
·2· ·run

     contracted.· I know in the past that they've had
·3· ·contracted.·

     workers.· I don't know if they still have workers or if
·4· ·workers.·

     Keefe, the commissary company -- I don't know how that
·5· ·Keefe,

     works.· I don't recall how that works.
·6· ·works.·

·7· · · · Q.· ·You mentioned a time when detainee workers

·8· ·might have worked in commissary; is that right?

·9· · · · A.· ·I do recall commissary having assistance of

10· ·detainees years ago.· I don't know how they do it now.

11· · · · Q.· ·Let's go back to when you knew it was

12· ·happening.· Were those detainee workers that were

13· ·working for commissary working under the Voluntary Work

14· ·Program?

15· · · · A.· ·I don't know.· I wasn't -- I don't know.

16· · · · Q.· ·Do you recall any problems -- sorry.· How are

17· ·workers, detainee workers, assigned to the laundry area?

18· · · · · · ·MR. DONAHUE:· Object to the form.

19· · · · A.· ·They volunteer.· Then first come-first served

20· ·based on the waiting list is how they would be picked.

21· · · · Q· · (By Ms. Chien) Do detainee workers get to

22· ·decide -- or get to sign up for a specific waiting list

23· ·for laundry versus kitchen versus pod cleaner?

24· · · · A.· ·It depends.· Some detainees want any Voluntary

25· ·Work Program.· They say Give me anything.· Some




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·1· · · · · · · · · · REPORTER'S CERTIFICATE

·2· · · · · · · I, JACQUELINE L. BELLOWS, the undersigned

·3· ·Certified Court Reporter pursuant to RCW 5.28.010 authorized

·4· ·to administer oaths and affirmations in and for the State of

·5· ·Washington, do hereby certify that the sworn testimony

·6· ·and/or proceedings, a transcript of which is attached, was

·7· ·given before me at the time and place stated therein; that

·8· ·any and/or all witness(es)were duly sworn to testify to the

·9· ·truth; that the sworn testimony and/or proceedings were by

10· ·me stenographically recorded and transcribed under my

11· ·supervision, to the best of my ability; that the foregoing

12· ·transcript contains a full, true, and accurate record of all

13· ·the sworn testimony and/or proceedings given and occurring

14· ·at the time and place stated in the transcript; that a

15· ·review of which was requested; that I am in no way related

16· ·to any party to the matter, nor to any counsel, nor do I

17· ·have any financial interest in the event of the cause.

18· · · · · · · · WITNESS MY HAND AND DIGITAL SIGNATURE this 1st

19· ·day of June, 2019.

20

21

22· · · ·________________________

23· · · ·Jacqueline L. Bellows
· · · · ·Washington State Certified Court Reporter, No. 2297
24· · · ·jbellows@yomreporting.com

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